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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.        CV 85-4544-DMG (AGRx)                                            Date       May 31, 2019

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   Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                    KANE TIEN                                                      NOT REPORTED
                    Deputy Clerk                                                    Court Reporter

       Attorneys Present for Plaintiff(s)                                 Attorneys Present for Defendant(s)
                None Present                                                        None Present

   Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ APPLICATION FOR
                LEAVE TO FILE MOTION TO ENFORCE SETTLEMENT AND
                EXHIBITS IDENTIFYING CLASS MEMBER ASYLUM APPLICANTS
                AND GOVERNMENT EMPLOYEES UNDER SEAL [547]

           On May 31, 2019, Plaintiffs filed an Application for leave to file a Motion to Enforce
   Settlement and documents relating thereto under seal.1 [Doc. # 547.] Specifically, Plaintiffs
   seek leave to seal: (a) information relating to the identities of asylum applicants, pursuant to 8
   C.F.R. sections 208.6 and 1208.6;2 and (b) information concerning the “identities of certain
   Government employees.” See Appl. at 3 [Doc. # 547].3 Plaintiffs offer no justification for their
   request to seal item (b). Additionally, Plaintiffs apparently (and for some unstated reasons) seek
   permission to seal: (c) the name of a shorthand reporter and notary public [Doc. # 548-3 at
   9:22], (d) the name of a psychiatrist [Doc. # 548-3 at 11:4–5, 137:17, 206], and (e) the location
   of a government employee’s base of operations [Doc. # 548-3 at 177:3–4].

           On this record, the Court is unable to determine whether “compelling reasons” support
   the entirety of Plaintiffs’ Application. See Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d
   1092, 1097 (9th Cir. 2016). Therefore, the Court DEFERS RULING on Plaintiffs’ Application.
   Within ten (10) court days of the date of this Order, Plaintiffs shall do one of the following:

       1. File under seal for the Court’s review new unredacted versions of the documents in
          question that do not have proposed redactions for items (b), (c), (d), and (e) highlighted
          therein, along with proposed redacted versions of those documents in which such
           1
            Plaintiffs’ counsel violated Local Rule 5-4.4.2 by failing to submit a Word version of the proposed order
   to chambers.
            2
              Plaintiffs represent that “Defendants have agreed that all filing [sic] containing personal identifying
   information regarding class members or their parents may be filed under seal in this case.” See Appl. at 3 [Doc.
   # 547].
           3
               All page references herein are to page numbers inserted by the CM/ECF system.

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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.     CV 85-4544-DMG (AGRx)                                    Date     May 31, 2019

   Title Jenny L. Flores, et al. v. William P. Barr, et al.                             Page     2 of 2

           corresponding redactions have been removed (the latter of which shall be filed on the
           public docket). These filings shall be accompanied by a supplement to the Application
           and a sealed supplement to Plaintiffs’ counsel’s declaration that discloses whether (and to
           what extent) Defendants consent to Plaintiffs’ supplemented Application;

      2. File on the public docket a supplement to the Application that concisely explains why
         items (b), (c), (d), and (e) should be redacted, along with a supplemental declaration in
         support thereof that shall be filed under seal. These supplemental filings shall disclose
         whether (and to what extent) Defendants consent to Plaintiffs’ original Application; or

      3. Elect a combination of options 1. and 2., with the proposed redactions removed from
         matter that Plaintiffs concede should not be sealed.

          Contemporaneous with Plaintiffs’ forthcoming filings, they shall lodge a new proposed
   order and submit a Word version thereof to chambers in accordance with Local Rule 5-4.4.2.

   IT IS SO ORDERED.




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